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   1    Stephen McArthur (SBN 277712)
        stephen@smcarthurlaw.com
   2    Thomas Dietrich (SBN 254282)
        tom@smcarthurlaw.com
   3    THE MCARTHUR LAW FIRM, P.C.
        9465 Wilshire Blvd., Ste. 300
   4    Beverly Hills, CA 90212
        Telephone: (323) 639-4455
   5
        Attorneys for Plaintiff Thrive
   6    Natural Care, Inc.
   7

   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,         DECLARATION OF STEPHEN
                                           MCARTHUR IN SUPPORT OF
  14          v.                           PLAINTIFF’S OPPOSITION TO
                                           DEFENDANT’S MOTION FOR
  15    THRIVE CAUSEMETICS, INC.,          SUMMARY JUDGMENT
  16                    Defendant.         Hon. Percy Anderson
  17                                       Hearing Date: September 13, 2021
                                           Time: 1:30 p.m.
  18                                       Courtroom: 9A
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                                                       DECLARATION OF STEPHEN MCARTHUR
                                                                Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 2 of 102 Page ID #:2238




   1         I, STEPHEN MCARTHUR, declare as follows:
   2         1.      I am an attorney at law, duly admitted into practice before the State of
   3   California and this Court. I am an attorney with The McArthur Law Firm, P.C.,
   4   counsel for Plaintiff Thrive Natural Care, Inc. (“Thrive”). I make this Declaration in
   5   support of Thrive’s Opposition to Defendant’s Motion for Summary Judgment (the
   6   “Motion”). I am over 18 years of age and make this declaration of facts known to
   7   me and, if called upon, I could and would testify competently to the facts stated
   8   herein.
   9         2.      Attached hereto as Exhibit A is a true and correct copy of excerpts of
  10   the transcript from the Rule 30(b)(6) deposition of TCI’s designee, Karissa Bodnar.
  11         3.      Attached hereto as Exhibit B is a true and correct copy of excerpts of
  12   the transcript from the deposition of Brendan Gardner-Young, TCI’s Head of
  13   Technology.
  14         4.      Attached hereto as Exhibit C is a true and correct copy of excerpts of
  15   the transcript from the deposition of Ned Menninger, TCI’s Chief Financial Officer.
  16         5.      Attached hereto as Exhibit D is a true and correct copy of an Office
  17   Action issued by the PTO on November 30, 2015 (the “2015 Office Action”),
  18   rejecting an application by TCI to register THRIVE CAUSEMETICS and citing a
  19   likelihood of confusion with Thrive’s U.S. Trademark Registration No. 4,467,942
  20   (the ’942 Registration”). This record was obtained from the PTO’s Trademark
  21   Search & Document Retrieval (“TSDR”) website. Exhibits to the Office Action not
  22   relevant to this litigation have been removed.
  23         6.      Attached hereto as Exhibit E is a true and correct copy of TCI’s
  24   response to the 2015 Office Action dated May 26, 2016. This record was obtained
  25   from the PTO’s TSDR website.
  26         7.      Attached hereto as Exhibit F is a true and correct copy of PTO’s June
  27   22, 2016, reply to TCI’s response to the 2015 Office Action, in which the PTO
  28   examiner stated the refusal based on Thrive’s ’942 Registration was being
                                                              DECLARATION OF STEPHEN MCARTHUR
                                                                       Case No. 2:20-CV-09091-PA-AS
                                                  -1-
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 3 of 102 Page ID #:2239




   1   withdrawn in response to TCI’s arguments. This record was obtained from the
   2   PTO’s TSDR website.
   3         8.     Attached hereto as Exhibit G is a true and correct copy of an Office
   4   Action issued by the PTO on August 28, 2018 (the “2018 Office Action”), rejecting
   5   a second application by TCI to register THRIVE CAUSEMETICS and citing a
   6   likelihood of confusion with Thrive’s ’942 Registration and Thrive’s then-pending
   7   trademark application, which matured as U.S. Trademark Registration 6,164,303
   8   (the “’303 Registration,” and, together with the ’942 Registration, the “THRIVE
   9   Registrations”). This record was obtained from the PTO’s TSDR website. Exhibits
  10   to the Office Action not relevant to this litigation have been removed.
  11         9.     Attached hereto as Exhibit H is a true and correct copy of TCI’s
  12   response to the 2018 Office Action dated October 30, 2018. This record was
  13   obtained from the PTO’s TSDR website. Exhibits to the response not relevant to
  14   this litigation have been removed.
  15         10.    The PTO maintained the refusal to register TCI’s second application
  16   for THRIVE CAUSEMETICS on the basis of a likelihood of confusion with the
  17   THRIVE Registrations. Attached hereto as Exhibit I is a true and correct copy of
  18   the PTO’s Suspension Letter issued on TCI’s application on November 23, 2018.
  19   This record was obtained from the PTO’s TSDR website.
  20         11.    On July 28, 2021, the PTO un-suspended TCI’s second application for
  21   THRIVE CAUSEMETICS and issued another Office Action refusing to register
  22   TCI’s application on the basis of a likelihood of confusion with the THRIVE
  23   Registrations. Attached hereto as Exhibit J is a true and correct copy of the PTO’s
  24   Office Action dated July 28, 2021. This record was obtained from the PTO’s TSDR
  25   website. Exhibits to the Office Action not relevant to this litigation have been
  26   removed.
  27         12.    Attached hereto as Exhibit K are true and correct copies of dictionary
  28   definitions of the word “thrive”.
                                                              DECLARATION OF STEPHEN MCARTHUR
                                                                       Case No. 2:20-CV-09091-PA-AS
                                                 -2-
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 4 of 102 Page ID #:2240




   1         I declare under penalty of perjury that the foregoing is true and correct.
   2         Executed on August 23, 2021, at Los Angeles, California.
   3
                                              /s/ Stephen McArthur
   4                                          Stephen McArthur
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                                                             DECLARATION OF STEPHEN MCARTHUR
                                                                      Case No. 2:20-CV-09091-PA-AS
                                                 -3-
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 5 of 102 Page ID #:2241




                               Exhibit D




                                                          MCARTHUR OPP. 96
        Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 6 of 102 Page ID #:2242


To:              Thrive Causemetics, Inc. (LorraineL.docketing@SeedIP.com)
Subject:         U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - 900234.201
Sent:            11/30/2015 3:27:10 PM
Sent As:         ECOM110@USPTO.GOV
Attachments:     Attachment - 1
                 Attachment - 2
                 Attachment - 3
                 Attachment - 4
                 Attachment - 5
                 Attachment - 6
                 Attachment - 7
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                                                                             MCARTHUR OPP. 97
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 7 of 102 Page ID #:2243


                       Attachment - 45
                       Attachment - 46
                       Attachment - 47

                                    UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION


                      U.S. APPLICATION SERIAL NO. 86721790

                      MARK: THRIVE CAUSEMETICS
                                                                             *86721790*
                      CORRESPONDENT ADDRESS:
                        LORRAINE LINFORD                                     CLICK HERE TO RESPOND TO THIS
                        Seed Ip Law Group Pllc                               LETTER:
                        701 5th Ave Ste 5400                                 http://www.uspto.gov/trademarks/teas/response_forms.jsp
                        Seattle, WA 98104-7064
                                                                             VIEW YOUR APPLICATION FILE

                      APPLICANT: Thrive Causemetics, Inc.

                      CORRESPONDENT’S REFERENCE/DOCKET
                      NO:
                         900234.201
                      CORRESPONDENT E-MAIL ADDRESS:
                         LorraineL.docketing@SeedIP.com



                                                         FIRST OFFICE ACTION

                                     STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE: 11/30/2015

 TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $50 per
international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone without incurring
this additional fee.

The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the marks in U.S. Registration Nos. 2938220 and
4467942. Trademark Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the enclosed registrations.

The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “False eyelashes; adhesives for affixing false
eyelashes; eyeliner; and eyebrow cosmetics.”

The mark in U.S. Registration No. 2938220 is CAUSE-METICS (standard characters) for “Cosmetics; Cosmetics, namely foundation and toners;
blush; eye make-up; lip liners; lipsticks; nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin
cleaners, deodorant soaps and skin soaps; perfume.”



                                                                                                             MCARTHUR OPP. 98
        Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 8 of 102 Page ID #:2244


The mark in U.S. Registration No. 4467942 is THRIVE (standard characters) for “Non-medicated skin care preparations, namely, facial lotions,
cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”

Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a potential consumer
would be confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant. See 15 U.S.C. §1052(d).
A determination of likelihood of confusion under Section 2(d) is made on a case-by case basis and the factors set forth in In re E. I. du Pont de
Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973) aid in this determination. Citigroup Inc. v. Capital City Bank Grp.,
Inc., 637 F.3d 1344, 1349, 98 USPQ2d 1253, 1256 (Fed. Cir. 2011) (citing On-Line Careline, Inc. v. Am. Online, Inc., 229 F.3d 1080, 1085, 56
USPQ2d 1471, 1474 (Fed. Cir. 2000)). Not all the du Pont factors, however, are necessarily relevant or of equal weight, and any one of the
factors may control in a given case, depending upon the evidence of record. Citigroup Inc. v. Capital City Bank Grp., Inc., 637 F.3d at 1355, 98
USPQ2d at 1260; In re Majestic Distilling Co., 315 F.3d 1311, 1315, 65 USPQ2d 1201, 1204 (Fed. Cir. 2003); see In re E. I. du Pont de
Nemours & Co., 476 F.2d at 1361-62, 177 USPQ at 567.

In this case, the following factors are the most relevant: similarity of the marks, similarity and nature of the goods and/or services, and similarity
of the trade channels of the goods and/or services. See In re Viterra Inc., 671 F.3d 1358, 1361-62, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012); In
re Dakin’s Miniatures Inc. , 59 USPQ2d 1593, 1595-96 (TTAB 1999); TMEP §§1207.01 et seq.

Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F. 3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Davia, 110 USPQ2d 1810, 1812 (TTAB
2014) (citing In re 1st USA Realty Prof’ls , Inc., 84 USPQ2d 1581, 1586 (TTAB 2007)); In re White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB
1988)); TMEP §1207.01(b).

Here the applicant’s mark is similar to the marks in the cited U.S. Registrations. The applicant has merely added a term to each of the registered
marks. Adding a term to a registered mark generally does not obviate the similarity between the compared marks, as in the present case, nor does
it overcome a likelihood of confusion under Section 2(d). See Coca-Cola Bottling Co. v. Jos. E. Seagram & Sons, Inc., 526 F.2d 556, 557, 188
USPQ 105, 106 (C.C.P.A. 1975) (finding BENGAL and BENGAL LANCER and design confusingly similar); In re Toshiba Med. Sys. Corp., 91
USPQ2d 1266, 1269 (TTAB 2009) (finding TITAN and VANTAGE TITAN confusingly similar); In re El Torito Rests., Inc., 9 USPQ2d 2002,
2004 (TTAB 1988) (finding MACHO and MACHO COMBOS confusingly similar); TMEP §1207.01(b)(iii). In the present case, the marks are
identical in part.

The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).

Comparison of the Goods and/or Services
The goods and/or services of the parties need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v.
Am. Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894,
1898 (Fed. Cir. 2000) (“[E] ven if the goods in question are different from, and thus not related to, one another in kind, the same goods can be
related in the mind of the consuming public as to the origin of the goods.”); TMEP §1207.01(a)( i).

The respective goods and/or services need only be “related in some manner and/or if the circumstances surrounding their marketing [be] such
that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v. Triumph
Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715, 1724
(TTAB 2007)); TMEP §1207.01(a)(i).

The applicant’s goods are “False eyelashes; adhesives for affixing false eyelashes; eyeliner; and eyebrow cosmetics.”

U.S. Registration No. 2938220
The goods in U.S. Registration No. 2938220 are “Cosmetics; Cosmetics, namely foundation and toners; blush; eye make-up; lip liners; lipsticks;
nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin cleaners, deodorant soaps and skin
soaps; perfume.”

Here, the applicant’s goods are highly similar to the registrant’s goods. With respect to applicant’s and registrant’s goods and/or services, the
question of likelihood of confusion is determined based on the description of the goods and/or services stated in the application and registration at
issue, not on extrinsic evidence of actual use. See Stone Lion Capital Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1323, 110 USPQ2d
1157, 1162 (Fed. Cir. 2014) (quoting Octocom Sys. Inc. v. Hous. Computers Servs. Inc., 918 F.2d 937, 942, 16 USPQ2d 1783, 1787 (Fed. Cir.
1990)).


                                                                                                           MCARTHUR OPP. 99
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Absent restrictions in an application and/or registration, the identified goods and/or services are “presumed to travel in the same channels of
trade to the same class of purchasers.” In re Viterra Inc., 671 F.3d 1358, 1362, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012) (quoting Hewlett-
Packard Co. v. Packard Press, Inc., 281 F.3d 1261, 1268, 62 USPQ2d 1001, 1005 (Fed. Cir. 2002)). Additionally, unrestricted and broad
identifications are presumed to encompass all goods and/or services of the type described. See In re Jump Designs, LLC, 80 USPQ2d 1370, 1374
(TTAB 2006) (citing In re Elbaum, 211 USPQ 639, 640 (TTAB 1981)); In re Linkvest S.A., 24 USPQ2d 1716, 1716 (TTAB 1992).

In this case, the identification set forth in the application and registration(s) has no restrictions as to nature, type, channels of trade, or classes of
purchasers. Therefore, it is presumed that these goods travel in all normal channels of trade, and are available to the same class of purchasers.
Further, the registration uses broad wording to describe the goods and this wording is presumed to encompass all goods of the type described,
including those in applicant’s more narrow identification. For example, the registrant’s cosmetics and eye makeup could include eyeliner and
eyebrow cosmetics.

U.S. Registration no. 4467942
The goods in U.S. Registration No. 4467942 are “Non-medicated skin care preparations, namely, facial lotions, cleansers and creams, creams
and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”

The attached Internet evidence consists of third party webpages. This evidence establishes that the same entity commonly manufactures or
produces the relevant goods and markets the goods under the same mark. Therefore, applicant’s and registrant’s goods and/or services are
considered related for likelihood of confusion purposes. See, e.g., In re Davey Prods. Pty Ltd., 92 USPQ2d 1198, 1202-04 (TTAB 2009); In re
Toshiba Med. Sys. Corp., 91 USPQ2d 1266, 1268-69, 1271-72 (TTAB 2009).

Evidence obtained from the Internet may be used to support a determination under Section 2(d) that goods and/or services are related. See, e.g.,
In re G.B.I. Tile & Stone, Inc., 92 USPQ2d 1366, 1371 (TTAB 2009); In re Paper Doll Promotions, Inc., 84 USPQ2d 1660, 1668 (TTAB 2007).
The Internet has become integral to daily life in the United States, with Census Bureau data showing approximately three-quarters of American
households used the Internet in 2013 to engage in personal communications, to obtain news, information, and entertainment, and to do banking
and shopping. See In re Nieves & Nieves LLC, 113 USPQ2d 1639, 1642 (TTAB 2015) (taking judicial notice of the following two official
government publications: (1) Thom File & Camille Ryan, U.S. Census Bureau, Am. Cmty. Survey Reports ACS-28, Computer & Internet Use in
the United States: 2013 (2014), available at http://www.census.gov/content/dam/Census/library/publications/2014/acs/acs-28.pdf, and (2) The
Nat’l Telecomms. & Info. Admin. & Econ. & Statistics Admin., Exploring the Digital Nation: America’s Emerging Online Experience (2013),
available at http://www.ntia.doc.gov/files/ntia/publications/exploring_the_digital_nation_-_americas_emerging_online_experience.pdf). Thus,
the widespread use of the Internet in the United States suggests that Internet evidence may be probative of public perception in trademark
examination.

For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.

Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.

Prior Filed Application
The filing date of pending U.S. Application Serial No. 85726058 precedes applicant’s filing date. See attached referenced application. If the
mark in the referenced application registers, applicant’s mark may be refused registration under Trademark Act Section 2(d) because of a
likelihood of confusion between the two marks. See 15 U.S.C. §1052(d); 37 C.F.R. §2.83; TMEP §§1208 et seq. Therefore, upon receipt of
applicant’s response to this Office action, action on this application may be suspended pending final disposition of the earlier-filed referenced
application.

In response to this Office action, applicant may present arguments in support of registration by addressing the issue of the potential conflict
between applicant’s mark and the mark in the referenced application. Applicant’s election not to submit arguments at this time in no way limits
applicant’s right to address this issue later if a refusal under Section 2(d) issues.

Action on this application will be suspended pending the dispositions of Application Serial No. 85726058, upon receipt of applicant’s response
resolving the refusal(s) to register based on a likelihood of confusion and resolving the following requirements. The applicant must respond to
the refusal to register based on a likelihood of confusion discussed previously herein and the requirements discussed subsequently herein
within 6 months of the date of this Office Action to avoid ABANDONMENT.

Additional Requirements
If applicant responds to the refusal(s), applicant must also respond to the requirement(s) set forth below.

Disclaimer

                                                                                                           MCARTHUR OPP. 100
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 10 of 102 Page ID #:2246


Applicant must disclaim the wording “COSMETICS” in the mark because it merely describes an ingredient, quality, characteristic, function,
feature, purpose, or use of applicant’s goods and/or services, and thus is an unregistrable component of the mark. See 15 U.S.C. §§1052(e)(1),
1056(a); DuoProSS Meditech Corp. v. Inviro Med. Devices, Ltd., 695 F.3d 1247, 1251, 103 USPQ2d 1753, 1755 (Fed. Cir. 2012) (quoting In re
Oppedahl & Larson LLP, 373 F.3d 1171, 1173, 71 USPQ2d 1370, 1371 (Fed. Cir. 2004)); TMEP §§1213, 1213.03(a).

The attached dictionary definition shows this wording refers to substances that you use on your skin to make yourself look more attractive. The
applicant indicates that it is providing makeup and eyebrow cosmetics. Therefore, the wording merely describes the applicant’s goods.

An applicant may not claim exclusive rights to terms that others may need to use to describe their goods and/or services in the marketplace. See
Dena Corp. v. Belvedere Int’l, Inc. , 950 F.2d 1555, 1560, 21 USPQ2d 1047, 1051 (Fed. Cir. 1991); In re Aug. Storck KG, 218 USPQ 823, 825
(TTAB 1983). A disclaimer of unregistrable matter does not affect the appearance of the mark; that is, a disclaimer does not physically remove
the disclaimed matter from the mark. See Schwarzkopf v. John H. Breck, Inc., 340 F.2d 978, 978, 144 USPQ 433, 433 (C.C.P.A. 1965); TMEP
§1213.

The wording “CAUSEMETCS” must appear in its correct spelling, i.e., “COSMETICS” in the disclaimer. See In re Omaha Nat’l Corp. , 819
F.2d 1117, 1119, 2 USPQ2d 1859, 1861 (Fed. Cir. 1987); In re Carlson, 91 USPQ2d 1198, 1203 (TTAB 2009); TMEP §1213.08(c).

If applicant does not provide the required disclaimer, the USPTO may refuse to register the entire mark. See In re Stereotaxis Inc., 429 F.3d
1039, 1040-41, 77 USPQ2d 1087, 1088-89 (Fed. Cir. 2005); TMEP §1213.01(b).

Applicant should submit a disclaimer in the following standardized format:

        No claim is made to the exclusive right to use “COSMETICS” apart from the mark as shown.

For an overview of disclaimers and instructions on how to satisfy this disclaimer requirement online using the Trademark Electronic Application
System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/disclaimer.jsp.

Response
For this application to proceed toward registration, applicant must explicitly address each refusal and/or requirement raised in this Office action.
If the action includes a refusal, applicant may provide arguments and/or evidence as to why the refusal should be withdrawn and the mark should
register. Applicant may also have other options for responding to a refusal and should consider such options carefully. To respond to
requirements and certain refusal response options, applicant should set forth in writing the required changes or statements.

If applicant does not respond to this Office action within six months of the issue/mailing date, or responds by expressly abandoning the
application, the application process will end, the trademark will fail to register, and the application fee will not be refunded. See 15 U.S.C.
§1062(b); 37 C.F.R. §§2.65(a), 2.68(a), 2.209(a); TMEP §§405.04, 718.01, 718.02. Where the application has been abandoned for failure to
respond to an Office action, applicant’s only option would be to file a timely petition to revive the application, which, if granted, would allow
the application to return to active status. See 37 C.F.R. §2.66; TMEP §1714. There is a $100 fee for such petitions. See 37 C.F.R. §§2.6,
2.66(b)(1).


                                                /Ellen J.G. Perkins/
                                                Ellen J.G. Perkins
                                                Examining Attorney
                                                U.S. Patent & Trademark Office
                                                Law Office 110
                                                571 272-9372
                                                Ellen.Perkins@uspto.gov

TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the


                                                                                                           MCARTHUR OPP. 101
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 11 of 102 Page ID #:2247


response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                                                  MCARTHUR OPP. 102
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                                                          MCARTHUR OPP. 103
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                                                          MCARTHUR OPP. 104
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 14 of 102 Page ID #:2250




                                                          MCARTHUR OPP. 105
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 15 of 102 Page ID #:2251




                                                          MCARTHUR OPP. 106
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 16 of 102 Page ID #:2252


To:                   Thrive Causemetics, Inc. (LorraineL.docketing@SeedIP.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - 900234.201
Sent:                 11/30/2015 3:27:12 PM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 11/30/2015 FOR U.S. APPLICATION SERIAL NO. 86721790

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 11/30/2015 (or sooner if specified in the Office action). For information
regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System
(TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                                                                   MCARTHUR OPP. 107
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 17 of 102 Page ID #:2253




                                Exhibit E




                                                          MCARTHUR OPP. 108
          Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 18 of 102 Page ID #:2254


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                                                              Response to Office Action


                                                     The table below presents the data as entered.

                              Input Field                                                                      Entered
 SERIAL NUMBER                                             86721790
 LAW OFFICE ASSIGNED                                       LAW OFFICE 110
 MARK SECTION
 MARK                                                      http://tmng-al.uspto.gov/resting2/api/img/86721790/large
 LITERAL ELEMENT                                           THRIVE CAUSEMETICS
 STANDARD CHARACTERS                                       YES
 USPTO-GENERATED IMAGE                                     YES
                                                           The mark consists of standard characters, without claim to any particular font style, size or
 MARK STATEMENT
                                                           color.
 ARGUMENT(S)
 Please see the actual argument text attached within the Evidence section.
 EVIDENCE SECTION
        EVIDENCE FILE NAME(S)

                                                           evi_2-713739202-20160527181621868995_._ive_Causemetics_Response_to_Office_Action_-
       ORIGINAL PDF FILE
                                                           _Final_05.27.2016.pdf
       CONVERTED PDF FILE(S)
                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0002.JPG
       (18 pages)

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                                                                                                                          MCARTHUR OPP. 109
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 19 of 102 Page ID #:2255


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                                 \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0019.JPG
                                 Argument and evidence in the form of records from the USPTO database and images of
DESCRIPTION OF EVIDENCE FILE
                                 Applicant's website.
NEW ATTORNEY SECTION
NAME                             Sean M. McChesney
FIRM NAME                        Focal PLLC
OTHER APPOINTED ATTORNEY         Joe Skocilich; Venkat Balasubramani
STREET                           900 1st Avenue S., Suite 203
CITY                             Seattle
STATE                            Washington
ZIP/POSTAL CODE                  98134
COUNTRY                          United States
PHONE                            2066173040
FAX                              2062603966
EMAIL                            sean@focallaw.com
AUTHORIZED EMAIL COMMUNICATION   Yes
NEW CORRESPONDENCE SECTION
NAME                             Sean M. McChesney
FIRM NAME                        Focal PLLC
STREET                           900 1st Avenue S., Suite 203
CITY                             Seattle
STATE                            Washington
ZIP/POSTAL CODE                  98134
COUNTRY                          United States
PHONE                            2066173040
FAX                              2062603966
EMAIL                            sean@focallaw.com;trademark@focallaw.com
AUTHORIZED EMAIL COMMUNICATION   Yes
SIGNATURE SECTION
RESPONSE SIGNATURE               /smm/
SIGNATORY'S NAME                 Sean M McChesney
SIGNATORY'S POSITION             Attorney of record, Washington bar member
SIGNATORY'S PHONE NUMBER         2066173040
DATE SIGNED                      05/27/2016
AUTHORIZED SIGNATORY             YES
FILING INFORMATION SECTION
SUBMIT DATE                      Fri May 27 18:40:32 EDT 2016


                                                                                 MCARTHUR OPP. 110
          Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 20 of 102 Page ID #:2256


                                                           USPTO/ROA-XX.XX.XX.XXX-20
                                                           160527184032546643-867217
                                                           90-550acf3e3a29955164d35c
 TEAS STAMP
                                                           ce5f0e92f4c6c4b42ae25bacc
                                                           be494b4655408ccefc12-N/A-
                                                           N/A-20160527181621868995




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)




                                                                   Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 86721790 THRIVE CAUSEMETICS(Standard Characters, see http://tmng-al.uspto.gov/resting2/api/img/86721790/large)
has been amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

Please see the actual argument text attached within the Evidence section.

EVIDENCE
Evidence in the nature of Argument and evidence in the form of records from the USPTO database and images of Applicant's website. has been
attached.
Original PDF file:
evi_2-713739202-20160527181621868995_._ive_Causemetics_Response_to_Office_Action_-_Final_05.27.2016.pdf
Converted PDF file(s) ( 18 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
Evidence-17
Evidence-18

ATTORNEY ADDRESS
Applicant proposes to amend the following:
Proposed:
Sean M. McChesney of Focal PLLC, having an address of
900 1st Avenue S., Suite 203 Seattle, Washington 98134
United States
sean@focallaw.com
2066173040
2062603966


                                                                                                                          MCARTHUR OPP. 111
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 21 of 102 Page ID #:2257


The Other Appointed Attorney(s): Joe Skocilich; Venkat Balasubramani.

CORRESPONDENCE ADDRESS CHANGE
Applicant proposes to amend the following:
Proposed:
Sean M. McChesney of Focal PLLC, having an address of
900 1st Avenue S., Suite 203 Seattle, Washington 98134
United States
sean@focallaw.com;trademark@focallaw.com
2066173040
2062603966



SIGNATURE(S)
Response Signature
Signature: /smm/ Date: 05/27/2016
Signatory's Name: Sean M McChesney
Signatory's Position: Attorney of record, Washington bar member

Signatory's Phone Number: 2066173040

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.

Mailing Address: Sean M. McChesney
 Focal PLLC
 900 1st Avenue S., Suite 203
 Seattle, Washington 98134

Serial Number: 86721790
Internet Transmission Date: Fri May 27 18:40:32 EDT 2016
TEAS Stamp: USPTO/ROA-XX.XX.XX.XXX-20160527184032546
643-86721790-550acf3e3a29955164d35cce5f0
e92f4c6c4b42ae25baccbe494b4655408ccefc12
-N/A-N/A-20160527181621868995




                                                                                                        MCARTHUR OPP. 112
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                                                          MCARTHUR OPP. 113
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                                                          MCARTHUR OPP. 114
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                                                          MCARTHUR OPP. 115
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                                                          MCARTHUR OPP. 116
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                                                          MCARTHUR OPP. 117
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                                                          MCARTHUR OPP. 118
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                                                          MCARTHUR OPP. 119
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                                                          MCARTHUR OPP. 120
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                                                          MCARTHUR OPP. 121
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                                                          MCARTHUR OPP. 122
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                                                          MCARTHUR OPP. 123
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 33 of 102 Page ID #:2269




                                                          MCARTHUR OPP. 124
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 34 of 102 Page ID #:2270




                                                          MCARTHUR OPP. 125
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                                                          MCARTHUR OPP. 126
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 36 of 102 Page ID #:2272




                                                          MCARTHUR OPP. 127
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                                                          MCARTHUR OPP. 128
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 38 of 102 Page ID #:2274




                                                          MCARTHUR OPP. 129
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                                                          MCARTHUR OPP. 130
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                                Exhibit F




                                                          MCARTHUR OPP. 131
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 41 of 102 Page ID #:2277


To:                   Thrive Causemetics, Inc. (sean@focallaw.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - N/A
Sent:                 6/22/2016 7:47:14 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                                   UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION



                      U.S. APPLICATION SERIAL NO. 86721790


                      MARK: THRIVE CAUSEMETICS
                                                                           *86721790*
                      CORRESPONDENT ADDRESS:
                        Sean M. McChesney                                  CLICK HERE TO RESPOND TO THIS
                                                                           LETTER:
                          Focal PLLC
                                                                           http://www.uspto.gov/trademarks/teas/response_forms.jsp
                         900 1st Avenue S., Suite 203
                          Seattle WA 98134
                                                                           VIEW YOUR APPLICATION FILE


                      APPLICANT: Thrive Causemetics, Inc.


                      CORRESPONDENT’S REFERENCE/DOCKET
                      NO:
                         N/A
                      CORRESPONDENT E-MAIL ADDRESS:
                         sean@focallaw.com




                                                        FINAL OFFICE ACTION


                                    STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.


ISSUE/MAILING DATE: 6/22/2016


THIS IS A FINAL ACTION.


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $50 per
international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,


                                                                                                         MCARTHUR OPP. 132
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TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone without incurring
this additional fee.


This Office action is in response to applicant’s communication filed on May 27, 2016. In the foregoing communication the applicant argued
against the refusal to register and the requirement for a disclaimer. Based on a review of the Office records, the refusal with respect to U.S
Registration No. 4467942 is withdrawn. Additionally, the requirement for a disclaimer is withdrawn. The examining attorney remains of the
opinion that the applicant’s mark, when used in connection with the goods offered is confusingly similar to the mark in U.S. Registration No.
2938220. Accordingly, the refusal under Section 2(d) is hereby maintained and made FINAL.


Although, the examining attorney has carefully reviewed the applicant’s response, she is not persuaded by the applicant’s arguments for the
following reasons.


Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the mark in U.S. Registration No. 2938220. Trademark
Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the registration attached to the prior Office Action.


The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “False eyelashes; adhesives for affixing false
eyelashes; eyeliner; and eyebrow cosmetics.”


The mark in U.S. Registration No. 2938220 is CAUSE-METICS (standard characters) for “Cosmetics; Cosmetics, namely foundation and toners;
blush; eye make-up; lip liners; lipsticks; nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin
cleaners, deodorant soaps and skin soaps; perfume.”


Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a potential consumer
would be confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant. See 15 U.S.C. §1052(d).
A determination of likelihood of confusion under Section 2(d) is made on a case-by case basis and the factors set forth in In re E. I. du Pont de
Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973) aid in this determination. Citigroup Inc. v. Capital City Bank Grp.,
Inc., 637 F.3d 1344, 1349, 98 USPQ2d 1253, 1256 (Fed. Cir. 2011) (citing On-Line Careline, Inc. v. Am. Online, Inc., 229 F.3d 1080, 1085, 56
USPQ2d 1471, 1474 (Fed. Cir. 2000)). Not all the du Pont factors, however, are necessarily relevant or of equal weight, and any one of the
factors may control in a given case, depending upon the evidence of record. Citigroup Inc. v. Capital City Bank Grp., Inc., 637 F.3d at 1355, 98
USPQ2d at 1260; In re Majestic Distilling Co., 315 F.3d 1311, 1315, 65 USPQ2d 1201, 1204 (Fed. Cir. 2003); see In re E. I. du Pont de
Nemours & Co., 476 F.2d at 1361-62, 177 USPQ at 567.


In this case, the following factors are the most relevant: similarity of the marks, similarity and nature of the goods and/or services, and similarity
of the trade channels of the goods and/or services. See In re Viterra Inc., 671 F.3d 1358, 1361-62, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012); In
re Dakin’s Miniatures Inc. , 59 USPQ2d 1593, 1595-96 (TTAB 1999); TMEP §§1207.01 et seq.


Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F. 3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Davia, 110 USPQ2d 1810, 1812 (TTAB
2014) (citing In re 1st USA Realty Prof’ls , Inc., 84 USPQ2d 1581, 1586 (TTAB 2007)); In re White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB
1988)); TMEP §1207.01(b).


The applicant argues that the marks are distinct because the term THRIVE distinguishes the applicant’s mark from the mark in the cited U.S.
Registration. The examining attorney does not find this argument persuasive.


Both marks contain the term CAUSEMETICS. Marks may be confusingly similar in appearance where similar terms or phrases or similar parts
of terms or phrases appear in the compared marks and create a similar overall commercial impression. See Crocker Nat’l Bank v. Canadian
Imperial Bank of Commerce, 228 USPQ 689, 690-91 (TTAB 1986), aff’d sub nom. Canadian Imperial Bank of Commerce v. Wells Fargo Bank,
Nat’l Ass’n , 811 F.2d 1490, 1495, 1 USPQ2d 1813, 1817 (Fed. Cir. 1987) (finding COMMCASH and COMMUNICASH confusingly similar);
In re Corning Glass Works, 229 USPQ 65, 66 (TTAB 1985) (finding CONFIRM and CONFIRMCELLS confusingly similar); In re Pellerin
Milnor Corp., 221 USPQ 558, 560 (TTAB 1983) (finding MILTRON and MILLTRONICS confusingly similar); TMEP §1207.01(b)(ii)-(iii).


                                                                                                         MCARTHUR OPP. 133
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The examining attorney notes that the registered mark contains a hyphen. However, small changes in words (e.g. hyphenation or spacing
changes, pluralization, phonetic substitution) are insufficient alone to distinguish marks. Thymo Borine Laboratory v. Winthrop Chemical
Company, Inc., 69 USPQ 512 (CCPA 1946); Steinway & Sons v. Robert Demars & Friends, et al., 210 USPQ 954 (C.D. Cal. 1981).


The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).


Comparison of the Goods and/or Services
The goods and/or services of the parties need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v.
Am. Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894,
1898 (Fed. Cir. 2000) (“[E] ven if the goods in question are different from, and thus not related to, one another in kind, the same goods can be
related in the mind of the consuming public as to the origin of the goods.”); TMEP §1207.01(a)( i).


The respective goods and/or services need only be “related in some manner and/or if the circumstances surrounding their marketing [be] such
that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v. Triumph
Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715, 1724
(TTAB 2007)); TMEP §1207.01(a)(i).


The applicant’s goods are “False eyelashes; adhesives for affixing false eyelashes; eyeliner; and eyebrow cosmetics.”


U.S. Registration No. 2938220
The goods in U.S. Registration No. 2938220 are “Cosmetics; Cosmetics, namely foundation and toners; blush; eye make-up; lip liners; lipsticks;
nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin cleaners, deodorant soaps and skin
soaps; perfume.”


Here, the applicant’s goods are highly similar to the registrant’s goods. With respect to applicant’s and registrant’s goods and/or services, the
question of likelihood of confusion is determined based on the description of the goods and/or services stated in the application and registration at
issue, not on extrinsic evidence of actual use. See Stone Lion Capital Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1323, 110 USPQ2d
1157, 1162 (Fed. Cir. 2014) (quoting Octocom Sys. Inc. v. Hous. Computers Servs. Inc., 918 F.2d 937, 942, 16 USPQ2d 1783, 1787 (Fed. Cir.
1990)).


Absent restrictions in an application and/or registration, the identified goods and/or services are “presumed to travel in the same channels of
trade to the same class of purchasers.” In re Viterra Inc., 671 F.3d 1358, 1362, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012) (quoting Hewlett-
Packard Co. v. Packard Press, Inc., 281 F.3d 1261, 1268, 62 USPQ2d 1001, 1005 (Fed. Cir. 2002)). Additionally, unrestricted and broad
identifications are presumed to encompass all goods and/or services of the type described. See In re Jump Designs, LLC, 80 USPQ2d 1370, 1374
(TTAB 2006) (citing In re Elbaum, 211 USPQ 639, 640 (TTAB 1981)); In re Linkvest S.A., 24 USPQ2d 1716, 1716 (TTAB 1992).


In this case, the identification set forth in the application and registration(s) has no restrictions as to nature, type, channels of trade, or classes of
purchasers. Therefore, it is presumed that these goods travel in all normal channels of trade, and are available to the same class of purchasers.
Further, the registration uses broad wording to describe the goods and this wording is presumed to encompass all goods of the type described,
including those in applicant’s more narrow identification. For example, the registrant’s cosmetics and eye makeup could include eyeliner and
eyebrow cosmetics.


For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.


Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.


Response


                                                                                                             MCARTHUR OPP. 134
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 44 of 102 Page ID #:2280


Applicant must respond within six months of the date of issuance of this final Office action or the application will be abandoned. 15 U.S.C.
§1062(b); 37 C.F.R. §2.65(a). Applicant may respond by providing one or both of the following:


        (1)     A response that fully satisfies all outstanding requirements and/or resolves all outstanding refusals.


        (2)     An appeal to the Trademark Trial and Appeal Board, with the appeal fee of $100 per class.


37 C.F.R. §2.63(b)(1)-(2); TMEP §714.04; see 37 C.F.R. §2.6(a)(18); TBMP ch. 1200.

In certain rare circumstances, an applicant may respond by filing a petition to the Director pursuant to 37 C.F.R. §2.63(b)(2) to review procedural
issues. TMEP §714.04; see 37 C.F.R. §2.146(b); TBMP §1201.05; TMEP §1704 (explaining petitionable matters). The petition fee is $100. 37
C.F.R. §2.6(a)(15).




                                                /Ellen J.G. Perkins/
                                                Ellen J.G. Perkins
                                                Examining Attorney, Law Office 110
                                                U.S. Patent & Trademark Office
                                                571 272-9372
                                                Ellen.Perkins@uspto.gov


TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.


All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                                                           MCARTHUR OPP. 135
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 45 of 102 Page ID #:2281


To:                   Thrive Causemetics, Inc. (sean@focallaw.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - N/A
Sent:                 6/22/2016 7:47:16 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION


                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 6/22/2016 FOR U.S. APPLICATION SERIAL NO. 86721790


Please follow the instructions below:


(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”


The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.


(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 6/22/2016 (or sooner if specified in the Office action). For information
regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.


Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System
(TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.


(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.



                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.


PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay


                                                                                                  MCARTHUR OPP. 136
          Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 46 of 102 Page ID #:2282


“fees.”


Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                                                                   MCARTHUR OPP. 137
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 47 of 102 Page ID #:2283




                                Exhibit G




                                                          MCARTHUR OPP. 138
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 48 of 102 Page ID #:2284


To:            Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:       U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:          8/28/2018 6:43:21 PM
Sent As:       ECOM110@USPTO.GOV
Attachments:   Attachment - 1
               Attachment - 2
               Attachment - 3
               Attachment - 4
               Attachment - 5
               Attachment - 6
               Attachment - 7
               Attachment - 8
               Attachment - 9
               Attachment - 10
               Attachment - 11
               Attachment - 12
               Attachment - 13
               Attachment - 14
               Attachment - 15
               Attachment - 16
               Attachment - 17
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               Attachment - 20
               Attachment - 21
               Attachment - 22
               Attachment - 23
               Attachment - 24
               Attachment - 25

                         UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                 OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION



                        U.S. APPLICATION
                        SERIAL NO. 87895130


                        MARK: THRIVE
                        CAUSEMETICS
                                                 *87895130*
                        CORRESPONDENT
                        ADDRESS:                 CLICK HERE TO RESPOND TO THIS
                           PATCHEN M.            LETTER:
                        HAGGERTY
                                                 http://www.uspto.gov/trademarks/teas/response_forms.jsp
                           PERKINS COIE LLP
                           1201 THIRD AVENUE,
                        SUITE 4900               VIEW YOUR APPLICATION FILE

                           SEATTLE, WA 98101




                                                                                            MCARTHUR OPP. 139
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 49 of 102 Page ID #:2285


                                 Causemetics, Inc.


                                 CORRESPONDENT’S
                                 REFERENCE/DOCKET
                                 NO:
                                     121715-4000
                                 CORRESPONDENT E-
                                 MAIL ADDRESS:

                                 pctrademarks@perkinscoie.com




                                                       FIRST OFFICE ACTION


                                   STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.


ISSUE/MAILING DATE: 8/28/2018


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $125
per class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations, TEAS
Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone or e-mail without incurring
this additional fee.


The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.
SUMMARY OF ISSUES:
      Refusal Section 2(d) – Likelihood of Confusion
      ADVISORY – Prior Filed Application
      Disclaimer


Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the mark in U.S. Registration No. 4467942. Trademark
Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the attached registration.


The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “Cosmetics; makeup preparations; lip gloss;
lipstick; eye shadow; mascara; eye liner; lip liner; eye brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false
eyelashes”; “Make-up brushes”; “Online retail store services featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-up
brushes”.


The mark in U.S. Registration No. 4467942 is THRIVE (standard characters) for “Non-medicated skin care preparations, namely, facial lotions,
cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”



                                                                                                   MCARTHUR OPP. 140
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Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a consumer would be
confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant(s). See 15 U.S.C. §1052(d).
Determining likelihood of confusion is made on a case-by-case basis by applying the factors set forth in In re E. I. du Pont de Nemours & Co.,
476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973). In re i.am.symbolic, llc, 866 F.3d 1315, 1322, 123 USPQ2d 1744, 1747 (Fed. Cir.
2017). However, “[n]ot all of the [ du Pont] factors are relevant to every case, and only factors of significance to the particular mark need be
considered.” Coach Servs., Inc. v. Triumph Learning LLC, 668 F.3d 1356, 1366, 101 USPQ2d 1713, 1719 (Fed. Cir. 2012) (quoting In re
Mighty Leaf Tea, 601. F.3d 1342, 1346, 94 USPQ2d 1257, 1259 (Fed. Cir 2010)). The USPTO may focus its analysis “on dispositive factors,
such as similarity of the marks and relatedness of the goods [and/or services].” In re i.am.symbolic, llc, 866 F.3d at 1322, 123 USPQ2d at 1747
(quoting Herbko Int’l, Inc. v. Kappa Books, Inc. , 308 F.3d 1156, 1164-65, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002)); see TMEP §1207.01.


Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Davia, 110 USPQ2d 1810, 1812 (TTAB
2014) (citing In re 1st USA Realty Prof’ls, Inc. , 84 USPQ2d 1581, 1586 (TTAB 2007)); In re White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB
1988)); TMEP §1207.01(b).


Here, the mark is highly similar to the mark in the cited U.S. Registration. The applicant has merely added the term CAUSEMETICS to the
registered mark. Adding a term to a registered mark generally does not obviate the similarity between the compared marks, as in the present
case, nor does it overcome a likelihood of confusion under Section 2(d). See Coca-Cola Bottling Co. v. Jos. E. Seagram & Sons, Inc., 526 F.2d
556, 557, 188 USPQ 105, 106 (C.C.P.A. 1975) (finding BENGAL and BENGAL LANCER and design confusingly similar); In re Toshiba Med.
Sys. Corp., 91 USPQ2d 1266, 1269 (TTAB 2009) (finding TITAN and VANTAGE TITAN confusingly similar); In re El Torito Rests., Inc., 9
USPQ2d 2002, 2004 (TTAB 1988) (finding MACHO and MACHO COMBOS confusingly similar); TMEP §1207.01(b)(iii). In the present
case, the marks are identical in part.


The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).


Comparison of the Goods and/or Services
The compared goods and/or services need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v. Am.
Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894, 1898
(Fed. Cir. 2000); TMEP §1207.01(a)(i). They need only be “related in some manner and/or if the circumstances surrounding their marketing are
such that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v.
Triumph Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715,
1724 (TTAB 2007)); TMEP §1207.01(a)(i).


The applicant’s goods and/or services are “Cosmetics; makeup preparations; lip gloss; lipstick; eye shadow; mascara; eye liner; lip liner; eye
brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false eyelashes”; “Make-up brushes”; “Online retail store services
featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-up brushes”.


The goods in U.S. Registration No. 4467942 are “Non-medicated skin care preparations, namely, facial lotions, cleansers and creams, creams
and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”


The trademark examining attorney has attached evidence from the USPTO’s X-Search database consisting of a number of third-party marks
registered for use in connection with the same or similar goods and/or services as those of both applicant and registrant in this case. This
evidence shows that the goods and/or services listed therein, namely lotions, creams and after shave lotions, and cosmetics, brushes and retail
store services featuring these goods, are of a kind that may emanate from a single source under a single mark. See In re Aquamar, Inc., 115
USPQ2d 1122, 1126 n.5 (TTAB 2015) (citing In re Mucky Duck Mustard Co., 6 USPQ2d 1467, 1470 n.6 (TTAB 1988)); In re Albert Trostel &
Sons Co., 29 USPQ2d 1783, 1785-86 (TTAB 1993); TMEP §1207.01(d)(iii).


For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.




                                                                                                      MCARTHUR OPP. 141
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Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.


Prior Filed Application
The filing date of pending U.S. Application Serial No. 87021374 precedes applicant’s filing date. See attached referenced application. If the
mark in the referenced application registers, applicant’s mark may be refused registration under Trademark Act Section 2(d) because of a
likelihood of confusion between the two marks. See 15 U.S.C. §1052(d); 37 C.F.R. §2.83; TMEP §§1208 et seq. Therefore, upon receipt of
applicant’s response to this Office action, action on this application may be suspended pending final disposition of the earlier-filed referenced
application.


In response to this Office action, applicant may present arguments in support of registration by addressing the issue of the potential conflict
between applicant’s mark and the mark in the referenced application. Applicant’s election not to submit arguments at this time in no way limits
applicant’s right to address this issue later if a refusal under Section 2(d) issues.


Action on this application will be suspended pending the dispositions of Application Serial No. 87021374, upon receipt of applicant’s response
resolving the refusal(s) to register based on a likelihood of confusion. The applicant must respond to the refusal to register based on a
likelihood of confusion discussed previously herein within 6 months of the date of this Office Action to avoid ABANDONMENT.


Disclaimer
Applicant must disclaim the wording “ COSMETICS” in the mark because it merely describes an ingredient, quality, characteristic, function,
feature, purpose, or use of applicant’s goods and/or services, and thus is an unregistrable component of the mark. See 15 U.S.C. §§1052(e)(1),
1056(a); DuoProSS Meditech Corp. v. Inviro Med. Devices, Ltd., 695 F.3d 1247, 1251, 103 USPQ2d 1753, 1755 (Fed. Cir. 2012) (quoting In re
Oppedahl & Larson LLP, 373 F.3d 1171, 1173, 71 USPQ2d 1370, 1371 (Fed. Cir. 2004)); TMEP §§1213, 1213.03(a).


The attached dictionary definition shows this wording refers to substances that you use on your skin to make yourself look more attractive. See
attached. The applicant indicates that it is providing cosmetics, brushes for cosmetics and retail store services featuring cosmetics. Therefore,
the wording merely describes the goods and the subject matter of the store services.


The wording “CAUSEMETICS” must appear in its correct spelling, i.e., “COSMETICS” in the disclaimer. See In re Omaha Nat’l Corp. , 819
F.2d 1117, 1119, 2 USPQ2d 1859, 1861 (Fed. Cir. 1987); In re Carlson, 91 USPQ2d 1198, 1203 (TTAB 2009); TMEP §1213.08(c).


An applicant may not claim exclusive rights to terms that others may need to use to describe their goods and/or services in the marketplace. See
Dena Corp. v. Belvedere Int’l, Inc., 950 F.2d 1555, 1560, 21 USPQ2d 1047, 1051 (Fed. Cir. 1991); In re Aug. Storck KG, 218 USPQ 823, 825
(TTAB 1983). A disclaimer of unregistrable matter does not affect the appearance of the mark; that is, a disclaimer does not physically remove
the disclaimed matter from the mark. See Schwarzkopf v. John H. Breck, Inc., 340 F.2d 978, 978, 144 USPQ 433, 433 (C.C.P.A. 1965); TMEP
§1213.


If applicant does not provide the required disclaimer, the USPTO may refuse to register the entire mark. See In re Stereotaxis Inc., 429 F.3d
1039, 1040-41, 77 USPQ2d 1087, 1088-89 (Fed. Cir. 2005); TMEP §1213.01(b).


Applicant should submit a disclaimer in the following standardized format:


       No claim is made to the exclusive right to use “COSMETICS ” apart from the mark as shown.


For an overview of disclaimers and instructions on how to satisfy this disclaimer requirement online using the Trademark Electronic Application
System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/disclaimer.jsp.


Response
For this application to proceed further, applicant must explicitly address each refusal and/or requirement raised in this Office action. If the action
includes a refusal, applicant may provide arguments and/or evidence as to why the refusal should be withdrawn and the mark should register.
Applicant may also have other options specified in this Office action for responding to a refusal and should consider those options carefully. To

                                                                                                        MCARTHUR OPP. 142
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 52 of 102 Page ID #:2288


respond to requirements and certain refusal response options, applicant should set forth in writing the required changes or statements. For more
information and general tips on responding to USPTO Office actions, response options, and how to file a response online, see “ Responding to
Office Actions” on the USPTO’s website.


If applicant does not respond to this Office action within six months of the issue/mailing date, or responds by expressly abandoning the
application, the application process will end and the trademark will fail to register. See 15 U.S.C. §1062(b); 37 C.F.R. §§2.65(a), 2.68(a); TMEP
§§718.01, 718.02. Additionally, the USPTO will not refund the application filing fee, which is a required processing fee. See 37 C.F.R.
§§2.6(a)(1)(i)-(iv), 2.209(a); TMEP §405.04.


When an application has abandoned for failure to respond to an Office action, an applicant may timely file a petition to revive the application,
which, if granted, would allow the application to return to active status. See 37 C.F.R. §2.66; TMEP §1714. The petition must be filed within
two months of the date of issuance of the notice of abandonment and may be filed online via the Trademark Electronic Application System
(TEAS) with a $100 fee. See 37 C.F.R. §§2.6(a)(15)(ii), 2.66(a)(1), (b)(1).




                                                /Ellen J.G. Perkins/
                                                Ellen J.G. Perkins
                                                Trademark Examining Attorney, Law Office 110
                                                U.S. Patent & Trademark Office
                                                571 272-9372
                                                Ellen.Perkins@uspto.gov


TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.


All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                                                           MCARTHUR OPP. 143
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 53 of 102 Page ID #:2289




                                                          MCARTHUR OPP. 144
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 54 of 102 Page ID #:2290




                                                          MCARTHUR OPP. 145
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 55 of 102 Page ID #:2291




                                                          MCARTHUR OPP. 146
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 56 of 102 Page ID #:2292




                                                          MCARTHUR OPP. 147
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 57 of 102 Page ID #:2293




                                                          MCARTHUR OPP. 148
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 58 of 102 Page ID #:2294




                                                          MCARTHUR OPP. 149
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 59 of 102 Page ID #:2295




                                                          MCARTHUR OPP. 150
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 60 of 102 Page ID #:2296




                                                          MCARTHUR OPP. 151
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 61 of 102 Page ID #:2297


To:                   Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:                 8/28/2018 6:43:24 PM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION


                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 8/28/2018 FOR U.S. APPLICATION SERIAL NO. 87895130


Please follow the instructions below:


(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”


The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.


(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 8/28/2018 (or sooner if specified in the Office action). A response
transmitted through the Trademark Electronic Application System (TEAS) must be received before midnight Eastern Time of the last day of the
response period. For information regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.


Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the TEAS response form located at
http://www.uspto.gov/trademarks/teas/response_forms.jsp.


(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.



                                                             WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.


PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that


                                                                                                 MCARTHUR OPP. 152
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 62 of 102 Page ID #:2298


closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”


Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                                                                   MCARTHUR OPP. 153
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 63 of 102 Page ID #:2299




                                Exhibit H




                                                          MCARTHUR OPP. 154
          Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 64 of 102 Page ID #:2300


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PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 09/20/2020)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         87895130
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 110
 MARK SECTION
 MARK                                                                  https://tmng-al.uspto.gov/resting2/api/img/87895130/large
 LITERAL ELEMENT                                                       THRIVE CAUSEMETICS
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 ARGUMENT(S)
 Please see the actual argument text attached within the Evidence section.
 EVIDENCE SECTION
        EVIDENCE FILE NAME(S)

                                                                       evi_19822100222-20181030195038968410_._Argument_Text_-
       ORIGINAL PDF FILE
                                                                       _THRIVE_CAUSEMETICS_Office_Action_Response.pdf
       CONVERTED PDF FILE(S)
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0002.JPG
       (8 pages)

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                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0004.JPG
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0005.JPG
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                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0008.JPG
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0009.JPG
                                                                       evi_19822100222-20181030195038968410_._Exhibits_A-D_-
       ORIGINAL PDF FILE
                                                                       _THRIVE_CAUSEMETICS_Office_Action_Response.pdf
       CONVERTED PDF FILE(S)
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0010.JPG
       (31 pages)

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0011.JPG
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    Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 65 of 102 Page ID #:2301


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                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0023.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0024.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0025.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0026.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0027.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0028.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0029.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0030.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0031.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0032.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0033.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0034.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0035.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0036.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0037.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0038.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0039.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0040.JPG
DESCRIPTION OF EVIDENCE FILE        Argument Text and Exhibits A-D
SIGNATURE SECTION
RESPONSE SIGNATURE                  /Patchen M Haggerty/
SIGNATORY'S NAME                    Patchen M. Haggerty
SIGNATORY'S POSITION                Attorney of record, OR and WA bar member
SIGNATORY'S PHONE NUMBER            (206) 359-8000
DATE SIGNED                         10/30/2018
AUTHORIZED SIGNATORY                YES
FILING INFORMATION SECTION
SUBMIT DATE                         Tue Oct 30 20:22:25 EDT 2018
                                    USPTO/ROA-XXX.XX.XXX.XXX-
                                    20181030202225105129-8789


                                                                         MCARTHUR OPP. 156
          Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 66 of 102 Page ID #:2302


                                                                       5130-6107cfe86a9bb43c3187
 TEAS STAMP
                                                                       e428dc39a995cf2b178221e51
                                                                       5e01cb81c56e88b1083d9-N/A
                                                                       -N/A-20181030195038968410




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 09/20/2020)




                                                                   Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 87895130 THRIVE CAUSEMETICS(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/87895130/large)
has been amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

Please see the actual argument text attached within the Evidence section.

EVIDENCE
Evidence in the nature of Argument Text and Exhibits A-D has been attached.
Original PDF file:
evi_19822100222-20181030195038968410_._Argument_Text_-_THRIVE_CAUSEMETICS_Office_Action_Response.pdf
Converted PDF file(s) ( 8 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Original PDF file:
evi_19822100222-20181030195038968410_._Exhibits_A-D_-_THRIVE_CAUSEMETICS_Office_Action_Response.pdf
Converted PDF file(s) ( 31 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
Evidence-17
Evidence-18
Evidence-19
Evidence-20


                                                                                                                          MCARTHUR OPP. 157
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 67 of 102 Page ID #:2303


Evidence-21
Evidence-22
Evidence-23
Evidence-24
Evidence-25
Evidence-26
Evidence-27
Evidence-28
Evidence-29
Evidence-30
Evidence-31

SIGNATURE(S)
Response Signature
Signature: /Patchen M Haggerty/ Date: 10/30/2018
Signatory's Name: Patchen M. Haggerty
Signatory's Position: Attorney of record, OR and WA bar member

Signatory's Phone Number: (206) 359-8000

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.


Serial Number: 87895130
Internet Transmission Date: Tue Oct 30 20:22:25 EDT 2018
TEAS Stamp: USPTO/ROA-XXX.XX.XXX.XXX-201810302022251
05129-87895130-6107cfe86a9bb43c3187e428d
c39a995cf2b178221e515e01cb81c56e88b1083d
9-N/A-N/A-20181030195038968410




                                                                                                        MCARTHUR OPP. 158
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 68 of 102 Page ID #:2304




                                                          MCARTHUR OPP. 159
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 69 of 102 Page ID #:2305




                                                          MCARTHUR OPP. 160
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 70 of 102 Page ID #:2306




                                                          MCARTHUR OPP. 161
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 71 of 102 Page ID #:2307




                                                          MCARTHUR OPP. 162
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 72 of 102 Page ID #:2308




                                                          MCARTHUR OPP. 163
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 73 of 102 Page ID #:2309




                                                          MCARTHUR OPP. 164
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 74 of 102 Page ID #:2310




                                                          MCARTHUR OPP. 165
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 75 of 102 Page ID #:2311




                                                          MCARTHUR OPP. 166
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 76 of 102 Page ID #:2312




                                                          MCARTHUR OPP. 167
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 77 of 102 Page ID #:2313




                                                          MCARTHUR OPP. 168
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 78 of 102 Page ID #:2314




                                                          MCARTHUR OPP. 169
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 79 of 102 Page ID #:2315




                                                          MCARTHUR OPP. 170
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 80 of 102 Page ID #:2316




                                                          MCARTHUR OPP. 171
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 81 of 102 Page ID #:2317




                                                          MCARTHUR OPP. 172
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 82 of 102 Page ID #:2318




                                                          MCARTHUR OPP. 173
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 83 of 102 Page ID #:2319




                                                          MCARTHUR OPP. 174
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 84 of 102 Page ID #:2320




                                Exhibit I




                                                          MCARTHUR OPP. 175
       Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 85 of 102 Page ID #:2321


To:                   Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:                 11/23/2018 9:15:38 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                                    UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION



                                      U.S. APPLICATION
                                      SERIAL NO. 87895130


                                      MARK: THRIVE
                                      CAUSEMETICS
                                                                     *87895130*
                                      CORRESPONDENT
                                      ADDRESS:                       GENERAL TRADEMARK
                                        PATCHEN M.                   INFORMATION:
                                      HAGGERTY                       http://www.uspto.gov/trademarks/index.jsp
                                         PERKINS COIE LLP
                                         1201 THIRD AVENUE,          VIEW YOUR APPLICATION FILE
                                      SUITE 4900
                                         SEATTLE, WA 98101


                                      APPLICANT: Thrive
                                      Causemetics, Inc.


                                      CORRESPONDENT’S
                                      REFERENCE/DOCKET
                                      NO:
                                         121715-4000
                                      CORRESPONDENT E-
                                      MAIL ADDRESS:

                                      pctrademarks@perkinscoie.com




                                        SUSPENSION NOTICE: NO RESPONSE NEEDED

ISSUE/MAILING DATE: 11/23/2018


The trademark examining attorney is suspending action on the application for the reason(s) stated below. See 37 C.F.R. §2.67; TMEP §§716 et
seq.


The effective filing date of the pending application(s) identified below precedes the filing date of applicant’s application. If the mark in the
referenced application(s) registers, applicant’s mark may be refused registration under Section 2(d) because of a likelihood of confusion with
that registered mark(s). See 15 U.S.C. §1052(d); 37 C.F.R. §2.83; TMEP §§1208 et seq. Therefore, action on this application is suspended until
the earlier-filed referenced application(s) is either registered or abandoned. 37 C.F.R. §2.83(c). A copy of information relevant to this referenced
application(s) was sent previously.


                                                                                                       MCARTHUR OPP. 176
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 86 of 102 Page ID #:2322



       - Application Serial No(s). 87021374


REFUSAL(S)/REQUIREMENT(S) CONTINUED AND MAINTAINED: The following refusal(s)/requirement(s) is/are continued and
maintained: Refusal Section 2(d) – Likelihood of Confusion; Disclaimer.


The USPTO will periodically conduct a status check of the application to determine whether suspension remains appropriate, and the trademark
examining attorney will issue as needed an inquiry letter to applicant regarding the status of the matter on which suspension is based. TMEP
§§716.04, 716.05. Applicant will be notified when suspension is no longer appropriate. See TMEP §716.04.


No response to this notice is necessary; however, if applicant wants to respond, applicant should use the “Response to Suspension Inquiry or
Letter of Suspension” form online at http://teasroa.uspto.gov/rsi/rsi.




                                             /Ellen J.G. Perkins/
                                             Ellen J.G. Perkins
                                             Trademark Examining Attorney, Law Office 110
                                             U.S. Patent & Trademark Office
                                             571 272-9372
                                             Ellen.Perkins@uspto.gov


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the Trademark Electronic Application System (TEAS) form at
http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                                                     MCARTHUR OPP. 177
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 87 of 102 Page ID #:2323


To:                   Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:                 11/23/2018 9:15:39 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                            U.S. TRADEMARK APPLICATION


                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 11/23/2018 FOR U.S. APPLICATION SERIAL NO.87895130


Please follow the instructions below:


(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov/, enter the U.S. application serial number, and click on
“Documents.”


The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.


(2) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.



                                                              WARNING

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”


Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                                                                   MCARTHUR OPP. 178
Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 88 of 102 Page ID #:2324




                                Exhibit J




                                                          MCARTHUR OPP. 179
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 89 of 102 Page ID #:2325


To:            Thrive Causemetics, Inc. (trademarks@cooley.com)
Subject:       U.S. Trademark Application Serial No. 87895130 - THRIVE CAUSEMETICS - N/A
Sent:          July 28, 2021 04:13:18 PM
Sent As:       ecom110@uspto.gov
Attachments:   Attachment - 1
               Attachment - 2
               Attachment - 3
               Attachment - 4
               Attachment - 5
               Attachment - 6
               Attachment - 7
               Attachment - 8
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               Attachment - 10
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               Attachment - 38
               Attachment - 39
               Attachment - 40

                                 United States Patent and Trademark Office (USPTO)
                           Office Action (Official Letter) About Applicant’s Trademark Application




                                                                                            MCARTHUR OPP. 180
      Case 2:20-cv-09091-PA-AS Document 56 Filed 08/23/21 Page 90 of 102 Page ID #:2326


                                                          U.S. Application
                                                          Serial No. 87895130


                                                          Mark: THRIVE
                                                          CAUSEMETICS


                                                          Correspondence
                                                          Address:
                                                          Anne H. Peck
                                                          Cooley LLP
                                                          1299 Pennsylvania
                                                          Avenue NW, STE 700
                                                          Washington DC 20004


                                                          Applicant: Thrive
                                                          Causemetics, Inc.


                                                          Reference/Docket No.
                                                          N/A


                                                          Correspondence
                                                          Email Address:

                                                          trademarks@cooley.com




                                                    NONFINAL OFFICE ACTION

The USPTO must receive applicant’s response to this letter within six months of the issue date below or the application will be abandoned.
Respond using the Trademark Electronic Application System (TEAS). A link to the appropriate TEAS response form appears at the end of this
Office action.


Issue date: July 28, 2021


This application was suspended pending the disposition of a prior filed application. The prior filed application has matured to U.S. Registration
No. 6164303. The refusal to register the mark based on U.S. Registration No. 4467942 is maintained and continued. The arguments presented in
applicant’s response will be addressed together with any response to this Office Action. Accordingly, the examining attorney issues the
following:


Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the mark in U.S. Registration No. 6164303. Trademark
Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the attached registration.


The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “ Cosmetics; makeup preparations; lip gloss;
lipstick; eye shadow; mascara; eye liner; lip liner; eye brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false
eyelashes”; Make-up brushes”; and “Online retail store services featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-
up brushes.”


The mark in U.S. Registration No. 6164303 is THRIVE (standard characters) for “Body and non-medicated soaps and skin cleansing gels; non-
medicated skin care preparations, namely, facial lotions, cleansers and creams, oils for cosmetic use, skin moisturizers; cosmetic sun care
preparations and sunscreens; shaving creams and gels; pre-shaving preparations; after shave lotions and creams.”


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Trademark Act Section 2(d) bars registration of an applied-for mark that is so similar to a registered mark that it is likely consumers would be
confused, mistaken, or deceived as to the commercial source of the goods and/or services of the parties. See 15 U.S.C. §1052(d). Likelihood of
confusion is determined on a case-by-case basis by applying the factors set forth in In re E. I. du Pont de Nemours & Co., 476 F.2d 1357, 1361,
177 USPQ 563, 567 (C.C.P.A. 1973) (called the “ du Pont factors”). In re i.am.symbolic, llc, 866 F.3d 1315, 1322, 123 USPQ2d 1744, 1747
(Fed. Cir. 2017). Any evidence of record related to those factors need be considered; however, “not all of the DuPont factors are relevant or of
similar weight in every case.” In re Guild Mortg. Co., 912 F.3d 1376, 1379, 129 USPQ2d 1160, 1162 (Fed. Cir. 2019) (quoting In re Dixie
Rests., Inc., 105 F.3d 1405, 1406, 41 USPQ2d 1531, 1533 (Fed. Cir. 1997)).


Although not all du Pont factors may be relevant, there are generally two key considerations in any likelihood of confusion analysis: (1) the
similarities between the compared marks and (2) the relatedness of the compared goods and/or services. See In re i.am.symbolic, llc, 866 F.3d at
1322, 123 USPQ2d at 1747 (quoting Herbko Int’l, Inc. v. Kappa Books, Inc. , 308 F.3d 1156, 1164-65, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002));
Federated Foods, Inc. v. Fort Howard Paper Co., 544 F.2d 1098, 1103, 192 USPQ 24, 29 (C.C.P.A. 1976) (“The fundamental inquiry mandated
by [Section] 2(d) goes to the cumulative effect of differences in the essential characteristics of the goods [or services] and differences in the
marks.”); TMEP §1207.01.


Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Inn at St. John’s, LLC , 126 USPQ2d
1742, 1746 (TTAB 2018) (citing In re Davia, 110 USPQ2d 1810, 1812 (TTAB 2014)), aff’d per curiam , 777 F. App’x 516, 2019 BL 343921
(Fed. Cir. 2019); TMEP §1207.01(b).


Here, both marks contain the term THRIVE. Marks may be confusingly similar in appearance where similar terms or phrases or similar parts of
terms or phrases appear in the compared marks and create a similar overall commercial impression. See Crocker Nat’l Bank v. Canadian
Imperial Bank of Commerce, 228 USPQ 689, 690-91 (TTAB 1986), aff’d sub nom. Canadian Imperial Bank of Commerce v. Wells Fargo Bank,
Nat’l Ass’n , 811 F.2d 1490, 1495, 1 USPQ2d 1813, 1817 (Fed. Cir. 1987) (finding COMMCASH and COMMUNICASH confusingly similar);
In re Corning Glass Works, 229 USPQ 65, 66 (TTAB 1985) (finding CONFIRM and CONFIRMCELLS confusingly similar); In re Pellerin
Milnor Corp., 221 USPQ 558, 560 (TTAB 1983) (finding MILTRON and MILLTRONICS confusingly similar); TMEP §1207.01(b)(ii)-(iii).


The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).


Comparison of the Goods and/or Services
The compared goods and/or services need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v. Am.
Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894, 1898
(Fed. Cir. 2000); TMEP §1207.01(a)(i). They need only be “related in some manner and/or if the circumstances surrounding their marketing are
such that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v.
Triumph Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715,
1724 (TTAB 2007)); TMEP §1207.01(a)(i).


The applicant’s goods and/or services are “ Cosmetics; makeup preparations; lip gloss; lipstick; eye shadow; mascara; eye liner; lip liner; eye
brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false eyelashes”; Make-up brushes”; and “Online retail store
services featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-up brushes.”


The goods in U.S. Registration No. 6164303 are “Body and non-medicated soaps and skin cleansing gels; non-medicated skin care preparations,
namely, facial lotions, cleansers and creams, oils for cosmetic use, skin moisturizers; cosmetic sun care preparations and sunscreens; shaving
creams and gels; pre-shaving preparations; after shave lotions and creams.”


The attached Internet evidence, consisting of third party cosmetics and personal care webpages, establishes that the same entity commonly
manufactures, produces, or provides the relevant goods and/or services and markets the goods and/or services under the same mark. Specifically,
cosmetics, cosmetics brushes and retail store services featuring these goods, as well as providing skincare preparations such as moisturizers and
skin cleansers. Thus, applicant’s and registrant’s goods and/or services are considered related for likelihood of confusion purposes. See, e.g., In
re Davey Prods. Pty Ltd., 92 USPQ2d 1198, 1202-04 (TTAB 2009); In re Toshiba Med. Sys. Corp., 91 USPQ2d 1266, 1268-69, 1271-72 (TTAB

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2009).


For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.


Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.


Response
For this application to proceed, applicant must explicitly address each refusal and/or requirement in this Office action. For a refusal, applicant
may provide written arguments and evidence against the refusal, and may have other response options if specified above. For a requirement,
applicant should set forth the changes or statements. Please see “ Responding to Office Actions” and the informational video “Response to
Office Action” for more information and tips on responding.


How to respond. Click to file a response to this nonfinal Office action.




                                              /Ellen J.G. Perkins/
                                              Ellen J.G. Perkins
                                              Examining Attorney - Law Office 110
                                              U.S. Patent & Trademark Office
                                              571 272-9372
                                              Ellen.Perkins@uspto.gov




RESPONSE GUIDANCE
      Missing the response deadline to this letter will cause the application to abandon. A response or notice of appeal must be received by
      the USPTO before midnight Eastern Time of the last day of the response period. TEAS and ESTTA maintenance or unforeseen
      circumstances could affect an applicant’s ability to timely respond.



      Responses signed by an unauthorized party are not accepted and can cause the application to abandon. If applicant does not have an
      attorney, the response must be signed by the individual applicant, all joint applicants, or someone with legal authority to bind a juristic
      applicant. If applicant has an attorney, the response must be signed by the attorney.


      If needed, find contact information for the supervisor of the office or unit listed in the signature block.




                                                                                                        MCARTHUR OPP. 183
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                                                          MCARTHUR OPP. 184
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                                                          MCARTHUR OPP. 185
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    To:                Thrive Causemetics, Inc. (trademarks@cooley.com)
    Subject:           U.S. Trademark Application Serial No. 87895130 - THRIVE CAUSEMETICS - N/A
    Sent:              July 28, 2021 04:13:21 PM
    Sent As:           ecom110@uspto.gov
    Attachments:

                                   United States Patent and Trademark Office (USPTO)


                                                 USPTO OFFICIAL NOTICE


                                             Office Action (Official Letter) has issued
                                                         on July 28, 2021 for
                                      U.S. Trademark Application Serial No. 87895130


Your trademark application has been reviewed by a trademark examining attorney. As part of that review, the assigned attorney has issued
an official letter that you must respond to by the specified deadline or your application will be abandoned. Please follow the steps below.


(1) Read the official letter.


(2) Direct questions about the contents of the Office action to the assigned attorney below.




/Ellen J.G. Perkins/
Ellen J.G. Perkins
Examining Attorney - Law Office 110
U.S. Patent & Trademark Office
571 272-9372
Ellen.Perkins@uspto.gov


Direct questions about navigating USPTO electronic forms, the USPTO website, the application process, the status of your application,
and/or whether there are outstanding deadlines or documents related to your file to the Trademark Assistance Center (TAC).


(3) Respond within 6 months (or earlier, if required in the Office action) from July 28, 2021, using the Trademark Electronic Application
System (TEAS). The response must be received by the USPTO before midnight Eastern Time of the last day of the response period. See
the Office action for more information about how to respond




GENERAL GUIDANCE
·     Check the status of your application periodically in the Trademark Status & Document Retrieval (TSDR) database to avoid missing
      critical deadlines.

·     Update your correspondence email address, if needed, to ensure you receive important USPTO notices about your application.


                                                                                                MCARTHUR OPP. 186
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·   Beware of misleading notices sent by private companies about your application. Private companies not associated with the
    USPTO use public information available in trademark registrations to mail and email trademark-related offers and notices – most of which
    require fees. All official USPTO correspondence will only be emailed from the domain “@uspto.gov.”




                                                                                                 MCARTHUR OPP. 187
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                                Exhibit K




                                                          MCARTHUR OPP. 188
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                                                          MCARTHUR OPP. 189
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                                  THRIVE             56 English
                                         (verb) American  Fileddefinition
                                                                 08/23/21         Page| Macmillan
                                                                          and synonyms   99 of 102       Page ID #:2335
                                                                                                  Dictionary


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        Search Macmillan Dictionary                                                                                ​




    thrive             ​DEFINITIONS AND SYNONYMS             ​‌
    VERB INTRANSITIVE              US      /θraɪv/

    OTHER ENTRIES FOR THIS WORD                                                                                           +
    WORD FORMS                                                                                                            +
    DEFINITIONS 1



     1 to become very successful, happy, or healthy

          Children thrive when given plenty of love and attention.
          This type of plant thrives in cool conditions.


         Collocations and examples                                                                                  +


         Collocations and examples                                                                                  +


         Collocations and examples                                                                                  +


         Synonyms and related words                                                                                 +
                                                                                            Do Not Sell My
                                                                                         Personal Information

         Synonyms and related words
       This website uses cookies to enhance user experience and to analyze
                                                                                                                    +
       performance and traffic on our website. We also share information about your      Accept Cookies
       use of our site with our social media, advertising and analytics partners.
    PHRASAL VERBS                                                                                                         -
    thrive on
                                                                                        MCARTHURTNC03101
                                                                                                OPP. 190
https://www.macmillandictionary.com/us/dictionary/american/thrive                                                             1/3
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7/28/2021         2:20-cv-09091-PA-AS Document
                                          THRIVE56     Filed
                                                | definition     08/23/21
                                                             in the            PageDictionary
                                                                    Cambridge English 100 of 102 Page ID #:2336

     thrive                                                                                                       
                                                                                                                       




  Meaning of thrive in English
                                                                                                                      

     thrive
     verb [ I ]

     US    /θraɪv /       UK    /θraɪv /
     thrived or US also throve | thrived or US also thriven

                                                                                                                      

      C1

     to grow, develop, or be successful:

     • His business thrived in the years before the war.
     • She seems to thrive on stress.

     Synonyms
     burgeon literary
     prosper



       SMART Vocabulary: related words and phrases

           Succeeding, achieving and fulfilling
            A game
            accomplish
            achieve                                                                        Do Not Sell My
            acquit                                                                      Personal Information

            actualize
       This website uses cookies to enhance user experience and to analyze               Accept Cookies
           go (like/down)
       performance    and traffica on
                                   bomb    idiom We also share information about your
                                      our website.
       use go
           of our siteorbit
               into    with idiom
                            our social media, advertising and analytics
       partners. Privacy and Cookies Policy
            go places idiom
            go whole hog idiom
             Contents                                                                                     To top 
                                                                                        MCARTHURTNC03104
                                                                                                OPP. 191
https://dictionary.cambridge.org/us/dictionary/english/thrive                                                              1/7
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                                          THRIVE56     Filed
                                                | definition     08/23/21
                                                             in the            PageDictionary
                                                                    Cambridge English 101 of 102 Page ID #:2337
  (Definition of thrive from the Cambridge Academic Content Dictionary © Cambridge University Press)
     thrive                                                                                                                  
                                                                                                                                  

     thrive | BUSINESS ENGLISH


     thrive
     verb [ I ]

     UK    /θraɪv /       US   
     thrived | thrived | US also throve | thriven

                                                                                                                                 

     to grow, develop, and become successful:

     • Industries such as water, telecoms, and insurance have been thriving.
     • thrive on sth Some employees thrive on the challenge of intense workloads.


  (Definition of thrive from the Cambridge Business English Dictionary © Cambridge University Press)



     EXAMPLES of thrive



     thrive
     In the end, the kids are thriving and the adults are more or less fine.
     From The Atlantic                                                                                                            

     For example, women who got divorced often thrived.
     From The Atlantic                                                                                                            


          More examples

     These examples are from corpora and from sources on the web. Any opinions in the examples do not represent the opinion of the
     Cambridge Dictionary editors or of Cambridge University Press or its licensors.
                                                                                                   Do Not Sell My
                                                                                                Personal Information


       Translations
       This website uses of thrive
                         cookies to enhance user experience and to analyze                       Accept Cookies
       performance and traffic on our website. We also share information about your
        in Chinese
       use of our site(Traditional)
                       with our social media, advertising and analytics
       partners. Privacy and Cookies Policy
          茁壯成長, 興旺，繁榮…
                                                                                                                   See more
                                                                                                                                  
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                                                                                                       OPP. 192
https://dictionary.cambridge.org/us/dictionary/english/thrive                                                                         3/7
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